           CASE 0:20-cr-00261-DSD-TNL Doc. 26 Filed 02/11/21 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                  Cr. No. 20-261 (DSD/TNL)

UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )       DEFENDANT’S MOTION TO
                 v.                                )       ALLOW DEFENDANT TO
                                                   )       LEAVE THE STATE
ADITYA RAJ SHARMA,                                 )
                                                   )
                         Defendant.                )


        The purpose of this motion is to request that Mr. Sharma be permitted to leave

Minnesota for Arizona for three nights. Probation Officer Krystal Taylor confirmed that

Mr. Sharma has complied with all pretrial release conditions, and she has no objection to

Mr. Sharma’s travel request. Assistant U.S. Attorney Matthew Ebert defers to Ms.

Taylor’s position on the matter. Thus, he does not object.

        On November 16, 2020, the Honorable Hildy Bowbeer set conditions of release in

Mr. Sharma’s case (ECF No. 7). One such condition is to not travel outside of Minnesota

without Court approval (id. at p. 2). Mr. Sharma seeks to travel to Mesa, Arizona for

work purposes for three nights within the next couple of weeks. He will fly from

Minnesota to Arizona and back.1 The purpose of the trip is to meet with a company to

execute a trial of the KloudGaze software.




1
  Mr. Sharma will not purchase his flight or hotel unless this Court grants his travel request. Upon his
purchase, he will provide all the details, including the specific dates, flight information, hotel information,
etc., to his pretrial services agent, Krystal Taylor.
        CASE 0:20-cr-00261-DSD-TNL Doc. 26 Filed 02/11/21 Page 2 of 2




      Mr. Sharma’s work commitment requires two full business days, and with the

uncertainty of flights, he intends to fly down one day before the meeting. We ask that the

Court grant permission to allow Mr. Sharma to travel to Arizona for three nights to

accommodate this business trip.



                                          Respectfully submitted,

                                          RYAN GARRY, ATTORNEY, LLC



Dated: February 11, 2021                  s/ Elizabeth Duel
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